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                    UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

                                    §
STRIKE 3 HOLDINGS, LLC,             §             Civil Action
                                    §             No. 8:20-cv-00676-MSS-CPT
                         Plaintiff, §
v.                                  §
                                    §
JOHN DOE infringer identified as    §
using IP address 47.197.99.186,     §
                                    §
                         Defendant. §
                                    §


      UNOPPOSED AMENDED MOTION TO APPEAR PRO HAC VICE,
          CONSENT TO DESIGNATION, AND REQUEST TO
    ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING1

       In accordance with Local Rule 2.01 of the United States District Court for the

Middle District of Florida, the undersigned respectfully moves for the admission pro

hac vice of Leonard J. French of The Law Firm of Leonard J. French, 660 Delaware

Ave #33, Hellertown, PA 18055, tel. 610-466-5644, for purposes of appearance as

co-counsel on behalf of the Defendant JOHN DOE infringer identified as using IP

address 47.197.99.186 in the above-styled case only, and pursuant to Section B of

the CM/ECF Administrative Procedures, to permit Leonard J. French to receive

electronic filings in this case, and in support thereof states as follows:


1
 This Motion is amended to include Mr. French’s Certificate of Good Standing from the
Commonwealth of Pennsylvania.
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      1. Leonard J. French is not admitted to practice in the Middle District

of Florida. He is a member in good standing and eligible to practice law in the

following jurisdictions:   the Commonwealth of Pennsylvania.          A copy of his

Certificate of Good Standing is attached to this Motion as Exhibit A. He is admitted

to the Federal District Courts for the following jurisdictions: the Eastern and Middle

Districts of Pennsylvania, the Northern and Western Districts of New York, the

District of Colorado, and the District of Columbia. Mr. French has appeared pro hac

vice once in the U.S. District Court for the Southern District of New York in 2020.

Mr. French has made no other special appearances in the past 36 months.

      2. Movant, Stephanie Reed Traband, Esq., of the law firm of Levine Kellogg

Lehman Schneider + Grossman LLP, is a member in good standing of The Florida

Bar, and of the United States District Court for the Middle District of Florida.

Movant maintains an office in this State for the practice of law, and is authorized to

file through the Court’s electronic filing system. Movant consents to be designated

as a member of the Bar of this Court with whom the Court and opposing counsel

may readily communicate regarding the conduct of the case and upon whom filings

shall be served.

      3. Leonard J. French, by and through undersigned counsel, and pursuant

to Section B of the CM/ECF Administrative Procedures, hereby requests the Court

to authorize CM/ECF filing privileges and access to Leonard J. French,
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ljfrench@leonardjfrench.com, so that he may register with the Court’s CM/ECF

system.

Local Rule 3.01(g) Certification

      4.     Movant had consulted with counsel for Plaintiff prior to filing this

motion, and he has noted that he has no objection to Mr. French’s pro hac vice

admission.

      WHEREFORE, Stephanie Reed Traband, Esq. hereby moves this Court to

enter an Order to permit Leonard J. French, Esq. to appear before this Court on

behalf of Defendant JOHN DOE infringer identified as using IP address

47.197.99.186, for all purposes relating to the proceedings in the above-styled matter

and authorize full CM/ECF registration and e-filing privileges and access to Leonard

J. French.

Date: April 18, 2022                              Respectfully submitted,

                                                  LEVINE KELLOGG LEHMAN
                                                  SCHNEIDER + GROSSMAN LLP
                                                  Local Counsel for Defendant
                                                  201 South Biscayne Boulevard
                                                  Miami Center, 22nd Floor
                                                  Miami, FL 33131
                                                  Telephone: (305) 403-8788
                                                  Facsimile: (305) 403-8789

                                                  By: /s/ Stephanie Reed Traband
                                                  Stephanie Reed Traband
                                                  Florida Bar No. 0158471
                                                  Primary: srt@lklsg.com
                                                  Secondary: ph@lklsg.com
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 18, 2022, the foregoing document was

electronically filed with the Clerk of the Court using CM/ECF. I also certify that the

foregoing document is being served this day on all counsel of record in the manner

specified, via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                    By: /s/ Stephanie Reed Traband
                                                    Stephanie Reed Traband, Esq.

                                  SERVICE LIST

Counsel for the Plaintiffs (By CM/ECF):
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Counsel for Plaintiff
